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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                                EASTERN DIVISION

POCHYA DEE SANDERS, as                         )
Administratrix of the Estate of                )
CEDRIC JAMAL MIFFLIN, deceased,                )
                                               )
       Plaintiff,                              )
                                               )
vs.                                            ) CIVIL CASE NO.:3:19-cv-353-ECM
                                               )
MICHAEL DAMON SEAVERS,                         )
                                               )
       Defendant.                              )

                                          ORDER

       On July 3, 2019, the parties filed a joint stipulation of dismissal (doc. 8). Upon

consideration of the joint stipulation of dismissal, and for good cause, it is

       ORDERED and ADJUDGED that this case be and is hereby DISMISSED with

prejudice, each party to bear its own costs. It is further

       ORDERED that all pending deadlines are terminated and all pending motions are

hereby DENIED as moot.

       DONE this 8th day of July, 2019.


                                              /s/ Emily C. Marks
                                    EMILY C. MARKS
                                    CHIEF UNITED STATES DISTRICT JUDGE
